                        UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF LOUISIANA

 PSARA ENERGY, LTD.                            CIVIL ACTION

 VERSUS                                        NUMBER: 18-04111

 SPACE SHIPPING, LTD.; GEDEN                   SECTION "B" (2)
 HOLDINGS LTD.; ADVANTAGE START
 SHIPPING, LLC; GENEL DENIZCILIK               JUDGE LEMELLE
 NAKLIYATI A.S. A/K/A GEDEN
                                               MAGISTRATE WILKINSON
 LINES; ADVANTAGE TANKERS, LLC;
 ADVANTAGE HOLDINGS, LLC;
 FORWARD HOLDINGS, LLC; MEHMET
 EMIN KARAMEHMET; GULSUN NAZLI
 KARAMEHMET – WILLIAMS; and
 TUĞRUL TOKGÖZ


                                      ORDER

         Considering the foregoing Motion to Vacate Attachment and Memorandum

in Support;

         Accordingly;

         IT IS HEREBY ORDERED that the attachment of the M/V ADVANTAGE

START be and the same is hereby VACATED.

         New Orleans, Louisiana, this _____ day of May, 2018.




                                       UNITED STATES DISTRICT JUDGE




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PD.23746317.1
